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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 Counsel to the Plan Administrator

 In re:                                                             Chapter 11

 BED BATH & BEYOND INC., et al.,1                                   Case No. 23-13359 (VFP)

                                   Debtors.                         (Jointly Administered)


         LIMITED OMNIBUS OBJECTION AND RESERVATION OF RIGHTS
     OF THE PLAN ADMINISTRATOR TO CERTAIN ADMINISTRATIVE CLAIMS

                                                                                               2
          Michael Goldberg, as plan administrator (the “Plan Administrator”), files this limited

 omnibus objection and reservation of rights (this “Objection”) to certain filed administrative

 claims set forth on Schedule 1 hereto (the “Administrative Claims”) and respectfully states

 as follows:


 1
     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The
     location of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
     chapter 11 cases is 650 Liberty Avenue, Union, New Jersey 07083.
 2
     The Plan Administrator has been appointed pursuant to the Debtors’ Plan, as defined herein. The Plan
     Administrator is responsible for and has the authority to administer certain post-confirmation responsibilities
     under the Plan on behalf of the Wind-Down Debtors.



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                                                   Background

         1.       On April 23, 2023, each of the above-captioned debtors (the “Debtors”) filed a

 voluntary petition under chapter 11 of the Bankruptcy Code. During these chapter 11 cases, the

 Debtors continued to operate their businesses and manage their properties as debtors and debtors

 in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. These chapter 11

 cases are procedurally consolidated and jointly administered pursuant to Rule 1015(b) of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). No party has requested the

 appointment of a trustee or examiner in these chapter 11 cases.

         2.       On May 31, 2023, the Court entered the Order (I) Setting Bar Dates for Submitting

 Proofs of Claim, Including Requests for Payment under Section 503(b)(9), (II) Establishing

 Amended Schedules Bar Date, Rejection Damages Bar Date, and Administrative Claims Bar Date,

 (III) Approving the Form, Manner, and Procedures for Filing Proofs of Claim, (IV) Approving

 Notice Thereof, and (V) Granting Related Relief [Docket No. 584] (the “Bar Date Order”).

         3.       On September 11, 2023, the Debtors filed their Second Amended Joint Chapter 11
                                                                                                              3
 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates [Docket No. 2160] (the “Plan”). On

 September 14, 2023, the Court entered an Order confirming the Plan (the “Confirmation Order”)

 [Docket No. 2172].

         4.       On September 29, 2023 (the “Effective Date”), the Debtors filed the Notice of

 (I) Entry of the Order (A) Approving the Disclosure Statement on a Final Basis and

 (B) Confirming the Second Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and its

 Debtor Affiliates and (II) Occurrence of Effective Date [Docket No. 2311]. Pursuant to the Plan,

 on the Effective Date, the Plan Administrator became the sole representative of the Wind-Down


 3
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Plan.

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 Debtors and assumed responsibility for purposes of resolving certain claims, performing claims

 reconciliation, and objecting to claims.

                                                    Objection

         5.       The Plan Administrator was recently appointed and is getting up to speed in these

 cases and is in process of reviewing the merits of the pre- and post-Effective Date filed requests

 for administrative expense claims set forth on Schedule 1.

         6.       In an effort to reduce costs to these estates and avoid unnecessary litigation, the

 Plan Administrator intends to review and discuss the filed Administrative Claims with the

 respective claimants in an effort to reach resolution. Additional time is necessary for this process.

 Accordingly, the Plan Administrator requests that (a) an Administrative Claim filed with a hearing

 date4 is adjourned to a date to be determined after consultation between the Plan Administrator

 and the claimant, with an objection deadline seven (7) days before the rescheduled hearing; and

 (b) any holder of a filed Administrative Claim listed on Schedule 1 that is not currently scheduled

 for a hearing shall be set for a hearing, if necessary, after consultation between the Plan

 Administrator and claimant.

         7.         No holder of an Administrative Claim set forth on Schedule 1 will be prejudiced

 by this process. Additional time will allow the Plan Administrator to review and assess the validity

 of each asserted Administrative Claim and engage in a substantive dialogue with the claimant

 regarding the asserted claim.




 4   The Plan Administrator is filing contemporaneously with this Objection a request to adjourn the October 24,
     2023 hearing to a date to be determined in accordance with D.N.J. LBR 5071-1.


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                                           Reservation of Rights

         8.       The rights of the Plan Administrator to object in the future to any of the

 Administrative Claims listed on Schedule 1 on any ground, and to file further substantive or

 non-substantive objections based upon any such grounds, are fully reserved and preserved. The

 Plan Administrator also fully reserves the right to amend, modify and/or supplement this

 Objection, including, without limitation, to object to amended or newly-filed claims.


                                                Conclusion

         For the foregoing reasons, the Plan Administrator respectfully requests that the Court (a)

 adjourn any scheduled hearings on the Administrative Claims, as set forth on Schedule 1, to a date

 to be determined, with an objection deadline seven (7) days before such hearing; and (b) set any

 unscheduled Administrative Claim set forth on Schedule 1 for a hearing date to be determined

 after consultation between the Plan Administrator and claimant.

 Dated: October 19, 2023                 /s/ Bradford J. Sandler
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                                                     Schedule 1



     Docket No.                          Description                            Current Hearing Date

     2309             F3 Metalworx’s Administrative Expense                 October 24, 2023 at 10:00 am5
                      Motion
     2430             Continental Web Press, Inc.’s Administrative
                      Expense Request
     2431             Tamarack Village’s Administrative Expenses            November 14, 2023 at 10:00 am
                      Motion
     2437             ChannelAdvisor’s Administrative Expenses              November 14, 2023 at 10:00 am
                      Motion
     2439
                      Equity One’s Administrative Expenses Motion
     2441
                      Salesforces’ Administrative Expense Request
     2443             Pinnacle Hills’ Administrative Expenses
                      Motion
     2444
                      Oracle’s Administrative Expenses Motion
     2446
                      Avalara’s Administrative Expense Request
     2447
                      Google’s Administrative Expense Request
     2452
                      Serota Islip’s Administrative Expenses Motion
     2456
                      NNN Reit’s Administrative Expenses Motion
     2457             DDRTC Marketplace’s Administrative
                      Expenses Motion
     2458
                      CMR’s Administrative Expenses Motion
     2459             Edison DENJ011, Edison EHNJ001, Edison
                      NNVA001, Edison UNNJ001, Oak Street (
                      Series 2021-1), and Oak Street Investment
                      (Series 2021-2) Administrative Expenses
                      Motion
     2460             Commission Junction’s Administrative
                      Expenses Motion




 5     A preliminary objection was filed to this administrative claim [Docket No. 2510], which preliminary objection
       also included a request to adjourn the hearing.


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